Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 1 of 20 PageID #: 170




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------- x

UNITED STATES OF AMERICA

               -v-                                    Criminal Case No. 21-0080 (NGG)

DOUGLASS MACKEY,

                          Defendant.

------------------------------------------------- x



                 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
              DOUGLASS MACKEY’S MOTION FOR A BILL OF PARTICULARS




                                                      Andrew J. Frisch
                                                      The Law Offices of Andrew J. Frisch, PLLC
                                                      40 Fulton Street, 17th Floor
                                                      New York, New York 10038
                                                      (212) 285-8000
                                                      afrisch@andrewfrisch.com

                                                      Attorney for Douglass Mackey
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 2 of 20 PageID #: 171




                                                           Tables of Contents


Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3

A.         Alternate sources of information to provide notice are inadequate . . .                                     4

B.         Absent particulars, the Complaint appears to be
           wholly predicated on protected speech . . . . . . . . . . . . . . . . . . . . . . . 10

C.         Particulars are necessary to inform Mr. Mackey of the basis for
           the indictment and to protect him from constitutional prejudice . . . . . 18

Conclusion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 3 of 20 PageID #: 172




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------- x

UNITED STATES OF AMERICA

               -v-                                    Criminal Case No. 21-0080 (NGG)

DOUGLASS MACKEY,

                          Defendant.

------------------------------------------------- x

                 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
              DOUGLASS MACKEY’S MOTION FOR A BILL OF PARTICULARS

                                                  Introduction

                 The entirety of the conduct covered by the government’s one-sentence indictment

of Douglass Mackey appears to be constitutionally-protected speech. This Court has broad

discretion to order the particularization requested by this motion:

        • so that the Court may thereafter have an informed opportunity, on Mr. Mackey’s
        anticipated motion to dismiss the indictment pursuant to Federal Rule of Criminal
        Procedure 12(b)(3)(B), to determine if this case should proceed [see United States v.
        Smith, 985 F. Supp. 2d 547, 561-62 (S.D.N.Y. 2014), aff’d sub nom. United States v.
        Halloran, 664 F. App’x 23 (2d Cir. 2016) (holding that a district judge may address “a
        constitutional attack on an indictment . . . within the context of a Rule 12(b)(3)(B)
        motion”)];

        • to address the indictment’s failure to provide any detail about the government’s
        unprecedented use of Title 18, United States Code, Section 241 (“Section 241”);

        • to avoid surprise (and attendant disruption) at trial; and

        • to protect Mr. Mackey’s constitutional right to be free from double jeopardy.

While it appears that even minimal flesh on the indictment’s skeletal recitation of Section 241's

statutory language will reveal this case to be without valid basis, some particularization is


                                                        3
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 4 of 20 PageID #: 173




necessary to provide constitutionally-adequate notice of the basis for the charge.

               The government’s indictment of Mr. Mackey does nothing more than track the

statutory language of Section 241, alleging that in the 60 days preceding the presidential election

of 2016, he conspired to “injure, oppress, threaten and intimidate one or more persons in the free

exercise and enjoyment” of their right to vote. Indictment at Docket No. 8. Anticipating the

government’s typical rejoinder to requested particularization that a defendant is obliged to

educate himself about a barebones criminal charge from alternate available sources [see e.g.

United States v. Bortnovsky, 820 F.2d 52, 574 (2d Cir. 1987)], Mr. Mackey has reviewed the

Complaint in this case [Docket No. 1 (the “Complaint”)] and the government’s relevant public

statements and continues to review the government’s discovery. These alternate sources of

information neither provide constitutionally-adequate notice nor do they reveal an apparently

valid predicate for this case. While a motion to dismiss will tee up Mr. Mackey’s anticipated

challenge to the validity of this prosecution, this motion seeks the particulars identified below in

part so that his motion to dismiss and the Court’s consideration thereof are efficiently and

effectively focused.

A.     Alternate sources of information to provide notice are inadequate

               On October 22, 2020, just a few weeks before the presidential election of 2020

(more than three months before the government’s filing of Mr. Mackey’s indictment on February

10, 2021, Docket No. 8), the United States Attorneys for the Eastern and Southern Districts of

New York provided their respective constituents with telephone numbers to receive public

complaints about voting-related fraud and identified members of their respective staffs (including

Mr. Mackey’s lead prosecutor) as “District Election Officers” overseeing complaints of “election


                                                  4
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 5 of 20 PageID #: 174




fraud and voting rights concerns.” The announcement, which trumpeted the United States

Attorneys’ consult with “Justice Department Headquarters in Washington,” contained the

following statement of federal criminal voting-related law:

       Federal law protects against such crimes as intimidating or bribing voters, buying and
       selling votes, impersonating voters, altering vote tallies, stuffing ballot boxes, and
       marking ballots for voters against their wishes or without their input. It also contains
       special protections for the rights of voters, and provides that they can vote free from acts
       that intimidate or harass them. For example, actions of persons designed to interrupt or
       intimidate voters at polling places by questioning or challenging them, or by
       photographing or videotaping them, under the pretext that these are actions to uncover
       illegal voting, may violate federal voting rights law. Further, federal law protects the
       right of voters to mark their own ballot or to be assisted by a person of their choice
       (where voters need assistance because of disability or illiteracy).

Exhibit A. This statement in 2020 of federal criminal voting-related law by the United States

Attorneys for the Eastern and Southern Districts of New York (which also appears in at least one

prior similar public announcement1) echoes the publicly-available “Federal Prosecution of

Election Offenses, Eighth Edition,”2 a 281-page compendium of voting-related criminal law and

cases (including a chapter on Section 241) issued in December 2017 by the Election Crimes

Branch of the United States Department of Justice’s Public Integrity Section (to which one of the

prosecutors in this case is assigned).

                Neither the United States Attorneys’ statement of federal criminal voting-related

law nor the Public Integrity Section’s comprehensive compendium appears to cover the conduct

of Mr. Mackey described by the allegations in the Complaint, discussed below. Neither of these


       1
         See Press Release, "United States Attorneys Available To Receive Election
Complaints," U.S. Department of Justice, SDNY, (June 22, 2020), available at
https://www.justice.gov/usao-edny/pr/united-states-attorneys-available-receive-election-
complaints-2
       2
           Available at https://www.justice.gov/criminal/file/1029066/download

                                                 5
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 6 of 20 PageID #: 175




alternate sources of information available to Mr. Mackey to educate himself about the

government’s barebones indictment necessarily precludes application of Section 241 to a new set

of facts. It appears from other alternate sources of information available to Mr. Mackey,

however, that the government may have thrown him into a lacuna acknowledged to be beyond

the intended and applicable scope of federal criminal law by former President Barack Obama,

United States Senators within the Second Circuit including Schumer, Clinton, Gillibrand, Leahy,

and Blumenthal, other members of Congress, and public interest groups dedicated to protecting

the right to vote.

                Beginning on Election Day in 2005, then-Senator Obama and Senator Schumer

introduced the Deceptive Practices and Voter Intimidation Prevention Act (S. 1975, 109th

Congress, First Session), which was subsequently introduced multiple times either by Senator

Obama before he became President [see S. 4069, 109th Congress, Second Session; S. 453, 110th

Congress, First Session) or other Senators. The legislation was just recently re-introduced in

2021 as part of the For the People Act by Senators Cardin and Klobuchar (S. 1840, 117th

Congress) and has been the subject of corollary legislation introduced in the House of

Representatives. See e.g. H.R. 1281, 110th Congress. Despite multiple attempts over the past

seventeen years, the proposed legislation has not been enacted.

                These bills have proposed (among other things) to make it a crime for any person,

within 60 days before a presidential election, to communicate or cause to be communicated

information about the time, place, or manner of a presidential election if such person knows such

information to be false and acts with “intent to prevent another person from exercising the right

to vote or from voting for the candidate of such other person’s choice” in a presidential election.


                                                 6
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 7 of 20 PageID #: 176




See e.g. S. 453, Report No. 110-191 (Oct. 4, 2007) at 19. Exhibit B.

               This proposed gloss on existing federal criminal voter-related law is intended to

cover conduct thematically similar (though not identical) to the violation of Section 241

apparently alleged by the government in this case. A report of the Committee on the Judiciary

issued by Senator Leahy on October 4, 2007, explained that the purpose of the proposed

legislation is “to combat the decades-old practice of communicating intentionally false

information in an effort to disenfranchise voters and to keep voters away from the polls.” Exhibit

B at 4. The Report provides examples of historical practices, typically targeting minority voters

and not previously prosecuted under Section 241 or any other statute, which the legislation might

cover if enacted, including:

       • telephone calls to registered voters in Virginia advising that they could vote by pressing
       a number on their telephone keypad corresponding to their candidate of choice, and
       ending by advising them that their votes had been received, obviating any need to vote on
       Election Day [Exhibit B at 5];

       • fliers circulated in Ohio’s Franklin County (Columbus) in 2004 stating that, due to
       ‘‘confusion caused by unexpected heavy voter registrations,’’ Republicans should vote on
       Tuesday, and Democrats should vote on Wednesday [Exhibit B at 2];

       • fliers circulated in predominantly African-American areas in Baltimore in 2002 showing
       the wrong election date and falsely stating that parking tickets must be paid before voting
       [Exhibit B at 4];

       • fliers circulated in public housing communities in New Orleans in 2002 stating that
       voters could cast their ballots three days after the election ‘‘if the weather is bad” [Exhibit
       B at 2]; and

       • recorded calls to registered voters in Virginia that falsely told the recipients of the calls
       that they were registered in another state and would face criminal charges if they voted
       locally [Exhibit B at 5].

               Proponents of the proposed legislation recognized that its application could be



                                                  7
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 8 of 20 PageID #: 177




misused to prosecute constitutionally protected speech. They understood that a new law needs to

be “narrowly tailored to avoid impinging on or chilling constitutionally protected speech” by

limiting its application to communications specifically intended “to prevent another person from

voting” [see e.g. Exhibit B at 6 (emphasis added)], not just “injure, oppress, threaten and

intimidate” the free exercise of the right to vote as Section 241 currently provides. Some

supporters of the bill opined that some of its intended scope may already have been proscribed,

but acknowledged the uncertainty of the law in this area and wanted “clear and specific authority

to prosecute efforts to deceive voters about the time and place and qualifications for voting.”

Exhibit B at 16.

               Public interest groups have supported the proposed legislation, concluding that

current law does not reach the types of disinformation identified in the Senate Report. The

American Civil Liberties Union concluded that, “[i]f deceptive voting practices are not

prohibited[,] many voters will be prevented from exercising their right to vote; . . . . [the

proposed legislation] addresses these deceptive practices by holding people criminally and civilly

accountable for tactics that are commonly intended to infringe minority communities’ ability to

vote.”3 The Brennan Center for Justice concluded that the proposed legislation “would

criminalize the knowing and intentional communication of false and misleading information

about the time, place, or manner of elections.” “The Deceptive Practices and Voter Intimidation

Prevention Act of 2007,” The Brennan Center for Justice, Jan. 26, 20094 (emphasis added). The


       3
         Available at https://www.aclu.org/letter/aclu-letter-house-supporting-hr-1281-
deceptive-practices-and-voter-intimidation-prevention
       4
         Available at https://www.brennancenter.org/our-work/research-reports/deceptive-
practices-and-voter-intimidation-prevention-act-2007

                                                  8
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 9 of 20 PageID #: 178




People for the American Way concluded that existing law “may not currently criminalize all the

deceptive practices we saw in the 2006 elections, including disinformation campaigns . . . . Such

practices try to deceive voters into changing their votes, or voting on the wrong day, or by

sending them to the wrong polling place . . . . We may not be able to stop dirty tricks in

campaigns, but we can make it harder for them to succeed - and we can make the consequences

very serious for those who carry them out.” Exhibit B at 6-7.

               Even the Department of Justice appears uncertain that any existing voter-related

law embraces the charged conduct. Among the alternate sources of information available to Mr.

Mackey to educate himself about the government’s barebones indictment is a press report about

this case sourced by multiple unnamed officials within the Department of Justice. See “U.S.

steps up pursuit of far-right activists in 2016 voter suppression probe,” Reuters.com, May 26,

2021.5 Reuters reported that federal prosecutors had “debated for years whether and how to

pursue criminal cases against Americans suspected of disseminating false voting instructions to

manipulate elections,” recognizing potential constitutional and legal obstacles under current law:

       While some officials wanted to bring a multitude of charges, others felt it would be too
       difficult to bring a voter-suppression case based on online messaging, the people said.
       The hurdles include free-speech rights, the difficulty in establishing intent and the
       challenge of showing that anyone failed to vote because a specific person misled them.

Reuters may or may not have accurately reported about debate within the Department of Justice

that preceded its unprecedented charge against Mr. Mackey. Multiple members of Congress and

public interest groups dedicated to protecting the right to vote as described above, however, have

concluded that a new law is necessary to prosecute even conduct thematically similar to the


       5
          Available at https://www.reuters.com/business/media-telecom/us-steps-up-pursuit-
far-right-activists-2016-voter-suppression-probe-2021-05-26/

                                                 9
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 10 of 20 PageID #: 179




apparently alleged conduct here, which had never before been prosecuted.

               Even with a new law, members of Congress understand that protecting the First

Amendment is more important than prosecuting disinformation about voting, requiring that a

new law, at the very least, be “narrowly tailored” and require specific intent “to prevent” another

person from voting (not just injure, oppress, intimate or threaten the free exercise of the right to

vote) to have any chance of passing constitutional muster. See e.g. Broadrick v. Oklahoma, 413

U.S. 601, 612 (1973) (“permitting some unprotected speech to go unpunished is outweighed by

the possibility that protected speech of others may be muted and perceived grievances left to

fester because of the possible inhibitory effects of overly broad statutes”); see also Nat’l

Coalition on Black Civil Participation v. Wohl, 498 F. Supp. 3d 457, 478 (S.D.N.Y. 2020)

(“Although false statements that discourage people from exercising the right to vote could

conceivably be exempted from First Amendment protection altogether, the Supreme Court has

not crafted such an exception.”).

B.     Absent particulars, the Complaint appears to be wholly predicated on protected speech

               Defendants do not typically need look to the types of alternate sources of

information cited above to understand an indictment against them. The indictment here,

however, indisputably represents a new application of Section 241, for which the government’s

one-sentence charging language provides no detail at all. A complaint preceding an indictment

can sometimes fill an indictment’s gaps, but the Complaint in this case appears to be predicated

wholly on protected speech outside the scope of Section 241. If there is more, the government

should be required to say so; if not, resolution of this motion will inform Mr. Mackey’s

anticipated motion to dismiss and, if this case is not dismissed, his preparation for and defense at


                                                 10
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 11 of 20 PageID #: 180




trial.

                  The Complaint (and the indictment), like the proposed legislation described

above, limits the charged conspiracy to the 60 days before Election Day in 2016 [Complaint at

1], an apparent attempt by the government to mimic a part of the proposed legislation discussed

above and show that the allegation is tailored to Election Day and might therefore pass

constitutional muster at least temporally. The Complaint alleges that Mr. Mackey hosted Twitter

accounts and appeared in online group chats using the pseudonym “Ricky Vaughn.” Complaint

at 4-7. “Ricky Vaughn” is the name of a fictional character portrayed by actor Charlie Sheen in

the movie Major League, an American comedy from 1989 so popular that it spawned two (less

successful) sequels. Major League is the story of a new owner of the Cleveland Indians who

schemes for the team to fail to permit the team’s relocation and so hires castoffs like Vaughn,

known as “Wild Thing” because of his colorful personality and tendency to throw wild pitches.6

                  According to the Complaint, Mr. Mackey (as Vaughn) conspired with others

through online messaging to create and upload allegedly deceptive images to his Twitter account

that misrepresented, for example, that registered voters who supported former Secretary of State

Hillary Clinton for President in 2016 could text their votes on their cell phones to a five-digit

number and “[a]void the line” at a polling place on Election Day. Complaint at 21-22. The

Complaint does not dispute any of the following facts that together help establish that Mr.

Mackey’s alleged conduct was constitutionally protected and outside the scope of even the

proposed changes to current law:

         • Mr. Mackey’s alleged conspiratorial conduct was limited to online messaging and chats


         6
             Available at https://en.wikipedia.org/wiki/Major_League_(film)

                                                  11
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 12 of 20 PageID #: 181




        with politically like-minded others;

        • Mr. Mackey was not affiliated with nor employed by any organized group, and neither
        received nor expected to receive compensation for the alleged conduct; and

        • There is no evidence that any registered voter (let alone a reasonable one) was actually
        prevented from voting and refrained from voting as a result of Mr. Mackey’s alleged
        online conduct.

                Despite the Complaint’s allegations, alternate sources of information have

expressed views of the charge in this case which are not apparent. For example, the Complaint

alleges that 4,900 people in the United States texted the five-digit number provided in a

purportedly deceptive meme. Complaint at 23. Based on that allegation, the New York Times

reported that Mr. Mackey “tricked Democratic voters in 2016 into trying to cast their ballots by

phone instead of going to the polls . . . in a futile effort to cast votes for Mrs. Clinton.”7 The

Complaint, however, does not allege that anyone (let alone any reasonable registered voter) was

tricked, or believed that their text actually constituted an official ballot for President, or

otherwise did not actually vote if they intended to do so. While reporters sometimes get things

wrong, reputable outlets like the New York Times almost always fact-check their reporting with

prosecutors and federal agents off-the-record to confirm accuracy. In fact, William F. Sweeney,

Jr., Assistant Director-in-Charge of the Federal Bureau of Investigation’s New York Field Office,

said in the government’s announcement of this case that Mr. Mackey’s conduct “amounted to

nothing short of vote theft . . . .[which constitutes] illegal behavior.”8



        7
         See https://www.nytimes.com/2021/01/27/nyregion/douglass-mackey-arrested-
far-right-twitter.html
        8
          See https://www.justice.gov/opa/pr/social-media-influencer-charged-election-
interference-stemming-voter-disinformation-campaign

                                                   12
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 13 of 20 PageID #: 182




               Perhaps Director Sweeney exaggerated in describing this case, and perhaps the

New York Times was insufficiently precise in its choice of words. But the skeletal state of the

indictment prevents Mr. Mackey from concluding, as a matter of constitutional due process, that

there is not more to this case than meets the eye. Mr. Mackey is entitled to know formally, in a

way that binds the government, that he is not alleged actually to have tricked - - or, in the

language of the proposed legislation - - prevented anyone from voting.

               It is essential to Mr. Mackey’s defense that the government do more than refer

him to alternate sources of information. Compare the commonly-understood realities of

(1) voting for President; and (2) Twitter and the Internet. As the United States Supreme Court

noted just last year (long after the Internet rooted itself in daily American life), “every voting rule

imposes a burden of some sort. Voting takes time and, for almost everyone, some travel, even if

only to a nearby mailbox. Casting a vote, whether by following the directions for using a voting

machine or completing a paper ballot, requires compliance with certain rules.” Brnovich v.

Democratic Nat'l Comm., 141 S. Ct. 2321, 2338 (2021).

               By contrast, “[i]f the Internet is akin to the Wild West, as many have suggested,

Twitter is, perhaps, the shooting gallery, where verbal gunslingers engage in prolonged

hyperbolic crossfire.” Ganske v. Mensch, 480 F. Supp. 3d 542 (S.D.N.Y. 2020) (Abrams,

U.S.D.J.) (dismissing claim of defamation based on tweets); citing Brahms v. Carver, 33 F.

Supp. 39 192, 199 (E.D.N.Y. 2014) (Vitaliano, U.S.D.J.) (questioning reasonable reliance on

statements “made on an internet forum where people typically solicit and express opinions,

generally using pseudonyms”); and Sandals Resorts Int’l Ltd. v. Google, Inc., 86 A.D.2d 32, 44

(1st Dep’t 2011) (“The culture of Internet communications, as distinct from that of print media


                                                  13
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 14 of 20 PageID #: 183




such as newspapers and magazines, has been characterized as encouraging a ‘freewheeling,

anything-goes writing style.’”).

                It seems fanciful to believe that any reasonable registered voter who intended to

vote for Secretary Clinton could truly have believed that texting a five-digit number advertised

on a meme posted on the Internet could constitute casting an official ballot for President, at least

without some requirement that identity be verified, or accompanied by the voter’s electronic

signature, or some other attendant formality. If it is the government’s position that it need not

prove reasonable reliance on Mr. Mackey’s alleged conduct, evidence of the 4,900 texters was

surplusage in the Complaint and is irrelevant [FRCRP 401] and unduly prejudicial with no true

probative value. FRCRP 403. The absence of proof of any actual reliance is evidentiary support

for Mr. Mackey’s prospective defense that he did not specifically intend to injure anyone’s right

to vote because no one would expect a reasonable registered voter to rely on a tweeted meme on

the Internet as soliciting an official ballot for President. In fact, unlike practices identified in the

Senate Report specifically targeting ostensibly Democratic constituencies, Vaughn posted his

meme to his Twitter account, the followers of which overwhelmingly shared his political views:

the account showed actor Charlie Sheen wearing a cap that said, “Make America Great Again.”

                Any allegation that Mr. Mackey posted memes hoping for their further

dissemination into cyberspace further suggests, without more, that the government’s indictment

is wholly predicated on political speech, the protection of which outweighs any interest in

punishing even a true deception [see e.g. Broadrick v. Oklahoma, 413 U.S. at 612], and that any

theory of guilt is at most consistent with a theory of innocence. See e.g. United States v. Cassese,

428 F.3d 92, 99 (2d Cir. 2005) (a conviction may be infirm if proof is as consistent with guilt as


                                                   14
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 15 of 20 PageID #: 184




innocence). For example, the Complaint relies on purportedly conspiratorial statements (not

necessarily spoken by Mr. Mackey) that a particular meme (acknowledged by the government as

a means of expression intended to be “amusing,” Complaint at 3), would confuse the“shitlibs”

[Complaint at 11] and “[d]opey shitlibs” [Complaint at 17], provoke the “shitlib woman vote”

[Complaint at 11], or constitute a “perfect psyops,” meaning psychological warfare against

supporters of Secretary Clinton. Complaint at 12.

               From these remarks, the Complaint infers a conspiracy to deceive registered

voters, though they are consistent with a tactic known as “owning the libs.” See Derek

Robinson, “How ‘Owning the Libs’ Became the GOP’s Core Belief,” Politico (Mar. 21, 2021)9

at 2, 7, 16 (“owning the libs” “does not require victory as much as a commitment to infuriating,

flummoxing or otherwise distressing liberals with one’s awesomely uncompromising

conservatism . . . . It’s a spirit of rebellion against what people see as liberals who are overly

sensitive, or are capable of being triggered, or hypocritical”). As noted in a comprehensive

analysis of the right wing’s use of social media and Twitter in 2016, right wing trolling can

advance “a quasi-moral argument that, by trolling, they are exposing the hypocrisy, ignorance,

and stupidity of the mainstream media." Alice Marwick & Rebecca Lewis, Media Manipulation

and Disinformation Online, Data & Society Res. Inst. (2017)10 (describing a troller with a

following similar to Vaughn’s as “strategically outraging the media through Twitter harassment

and other shock tactics”).


       9
          Available at https://www.politico.com/news/magazine/2021/03/21/owning-the-libs-
history-trump-politics-pop-culture-477203
       10
       Available at https://datasociety.net/pubs/oh/DataAndSociety_
MediaManipulationAndDisinformationOnline.pdf

                                                  15
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 16 of 20 PageID #: 185




               While “owning the libs” may be off-putting to some, it is protected by the First

Amendment. The speech cited in the Complaint allows consumers in the marketplace of ideas to

assess its value as provocation, satire, commentary, or otherwise, and, just as importantly, how

its targets respond. See New York Times Co. v. Sullivan, 376 U.S. 254, 271-72 (1964) (“To

persuade others to his own point of view, the pleader, as we know, at times, resorts to

exaggeration, to vilification of men who have been, or are, prominent in church or state, and even

to false statement. But the people of this nation have ordained in the light of history, that, in

spite of the probability of excesses and abuses, these liberties are, in the long view, essential to

enlightened opinion and right conduct on the part of the citizens of a democracy . . . . [E]rroneous

statement is inevitable in free debate, and . . . it must be protected if the freedoms of expression

are to have the breathing space that they need to survive.”); Farah v. Esquire Mag., 736 F.3d

528, 536–37 (D.C. Cir. 2013) (“But it is the nature of satire that not everyone ‘gets it’

immediately. For example, when Daniel Defoe first published The Shortest Way with the

Dissenters, an anonymous satirical pamphlet against religious persecution, it was initially

welcomed by the church establishment Defoe sought to ridicule. See James Sutherland, English

Satire 83-84 (1958). Similarly, Benjamin Franklin's ‘Speech of Miss Polly Baker,’ a fictitious

news story mocking New England's harsh treatment of unwed mothers, was widely republished

in both England and the United States as actual news.”); Cliffs Notes, Inc. v. Bantam Doubleday

Dell Pub. Grp., Inc., 886 F.2d 490, 494 (2d Cir. 1989) (“the keystone of parody is imitation. It is

hard to imagine, for example, a successful parody of Time magazine that did not reproduce

Time's trademarked red border.”); see also Falwell v. Flynt, 805 F.2d 484, 487 (4th Cir. 1986)

(Wilkinson, J., dissenting), rev'd sub nom. Hustler Magazine, Inc. v. Falwell, 485 U.S. 46,


                                                  16
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 17 of 20 PageID #: 186




(1988) ("Satire is particularly relevant to political debate because it tears down facades, deflates

stuffed shirts, and unmasks hypocrisy. By cutting through the constraints imposed by pomp and

ceremony, it is a form of irreverence as welcome as fresh air.")

               The government at a trial of this case may attempt to connect together pieces of

Mr. Mackey’s conversations with politically-compatible others to infer a specific intent to

“injure, oppress, intimidate, and threaten” free exercise of the right to vote. But alternate sources

of information about this case described above suggest that Mr. Mackey can just as (if not more)

readily show a different intent. The First Amendment does not permit the government to choose,

especially without clear legislative command, which citizens, let alone “verbal gunslingers

engag[ing] in prolonged hyperbolic crossfire” [see Ganske, 480 F. Supp. 3d at 542], crossed a

First Amendment line and are worthy of criminal jeopardy. Perhaps the Department of Justice on

January 22, 2021, two days into the Biden Administration when it filed its Complaint against Mr.

Mackey [Docket No. 1], believed its cause to be righteous, but the precedent that could be set

here could animate different applications of Section 241 in a hypothetical DeSantis or second

Trump Administration. If there is more to this case than Mr. Mackey’s exercise of his right to

free speech, the government should be ordered to say so. See United States v. Alvarez, 567 U.S.

709, 722-23 (2012) (“Before exempting a category of speech from the normal prohibition on

content-based restrictions, however, the Court must be presented with ‘persuasive evidence that a

novel restriction on content is part of a long (if heretofore unrecognized) tradition of

proscription’ . . . . Our constitutional tradition stands against the idea that we need Oceania's

Ministry of Truth. See G. Orwell, Nineteen Eighty-Four (1949) (Centennial ed. 2003). Were this

law to be sustained, there could be an endless list of subjects the National Government or the


                                                  17
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 18 of 20 PageID #: 187




States could single out.”) (plurality opinion); Sullivan, 376 U.S. at 271 (“This comports with the

common understanding that some false statements are inevitable if there is to be an open and

vigorous expression of views in public and private conversation, expression the First

Amendment seeks to guarantee.”).

C.     Particulars are necessary to inform Mr. Mackey of the basis for
       the indictment and to protect him from constitutional prejudice

               Mr. Mackey is not charged with a conventional crime like conspiracy to distribute

controlled substances [21 U.S.C. § 841] or to commit robberies that affect interstate commerce

[18 U.S.C. § 1951] where the underlying illegality is plain, and templates for similar

prosecutions are plentiful and readily available. Here, if Mr. Mackey’s alleged conduct truly

violated laws that provide “fair notice of conduct that is forbidden or required” [see FCC v. Fox

Television Stations, Inc., 567 U.S. 239, 253 (2012)], the government needs to provide more than

a sentence that tracks statutory language.

               Mr. Mackey’s counsel requested and the government declined to provide the

following particulars [Exhibit C, Certification of Compliance with Local Rule 16.1]:

       1.      In allegedly violating Section 241, was Mr. Mackey affiliated with or was he
               employed by any organized group, or, instead, did he allegedly conspire with
               others on Internet social media?

       2.      Did Mr. Mackey allegedly conspire to injure, oppress, threaten, or intimidate any
               registered voter in the free exercise of the right to vote other than by allegedly
               posting the purportedly deceptive images identified in the Complaint to his
               Twitter account?

       3.      Did Mr. Mackey actually injure, oppress, threaten, or intimidate any registered
               voter in the free exercise of the right to vote?

       4.      What is the basis for venue?



                                                18
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 19 of 20 PageID #: 188




                Particulars should be ordered when “the charges of the indictment are so general

that they do not advise the defendant of the specific acts of which he is accused.” United States

v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); United States v. Leonard, 817 F. Supp. 286, 301

(E.D.N.Y. 1992); United States v. Larracuenti, 740 F. Supp. 160 (E.D.N.Y. 1990). A defendant

must show that the requested particulars are necessary, and that he would be prejudiced without

them. See United States v. Payden, 613 F. Supp. 800, 816 (S.D.N.Y. 1985) (“It is not enough

that the information would be useful to the defendant; if the defendant has been given adequate

notice of the charges against him, the government is not required to disclose additional details

about its case.”).

                On the current barren landscape, Mr. Mackey has not been provided

constitutionally adequate notice of the charge against him to prepare his defense. Without

particulars, Mr. Mackey risks facing a moving target, where the government can shift the

elements and proof of the offense to meet the defense as it sees fit. Further, a pretrial motion to

dismiss will be unwieldy, requiring extensive briefing on especially weighty issues including

freedom of speech, protected political discourse and satire, and notice of prohibited conduct

sufficient to constitute due process. Given these circumstances, Mr. Mackey’s apparent need to

defend himself from exercising his constitutional right to free speech is itself undue prejudice

requiring particulars.

                The Complaint alleges that some unidentified number of the 4,900 texters used

telephone numbers “belonging to individuals located in the Eastern District of New York”

[Complaint at 23], but does not allege that any reasonable registered voter in this District (or

anywhere else) was deceived into thinking that they had cast an official ballot for President. The


                                                 19
Case 1:21-cr-00080-AMD Document 31-1 Filed 03/16/22 Page 20 of 20 PageID #: 189




government rests on its unelaborated assertion of venue at its peril. See United States v.

Auernheimer, 748 F.3d 525 (3d Cir. 2014) (holding that “the era of mass interconnectivity”

should not permit the government to assert venue without proper consideration of the crime’s

locus delicti).

                                             Conclusion

                  For these reasons, Mr. Mackey’s requested particulars should be granted.

Dated: March 16, 2022

                                               /s/ Andrew J. Frisch
                                               Andrew J. Frisch
                                               The Law Offices of Andrew J. Frisch, PLLC
                                               40 Fulton Street, 17th Floor
                                               New York, New York 10038
                                               (212) 285-8000
                                               afrisch@andrewfrisch.com

                                               Attorney for Douglass Mackey




                                                  20
